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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

SHARI FRANKLIN                                                JURY TRIAL DEMANDED

v.                                            CASE NO. 3:09 CV

FIRSTSOURCE ADVANTAGE, LLC

                                           COMPLAINT

       1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"), 15

U.S.C. § 1692; the Consumer Collection Agency Act, Conn. Gen. Stat. § 36a-800 and regulations

issued thereunder; or the Connecticut Unfair Trade Practices Act ("CUTPA"), Conn. Gen. Stat.

§ 42-110a.

       2.    The Court has jurisdiction. 15 U.S.C. § 1692k and 28 U.S.C. §1331 and § 1367.

       3. Plaintiff is a natural person who resides in Connecticut.

       4. Defendant is a debt collector within the FDCPA

       5. Defendant is licensed as a Consumer Collection Agency in Connecticut.

       6. The defendant communicated with plaintiff or others in connection with collection

efforts with regard to plaintiff's personal account re American Express.

       7. Defendant represented in writing that plaintiff had agreed to settle her account with

payment two days hence.

       8. No such agreement had been made.

       9. In the collection efforts, defendant violated the FDCPA§ 1692e, -f or -g.

Second Count.

       10. The allegations of the First Count are repeated as if fully set forth herein.

       11. Within three years prior to the date of this action Defendant engaged in acts and
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practices as to plaintiff in violation of the Creditors' Collection Practices Act, C.G.S. §36a-645

et seq., or the Consumer Collection Agency Act, C.G.S. § 36a-800 et seq.

       12. Defendant has thereby committed unfair or deceptive acts or practices within the

meaning of the Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a et seq.

WHEREFORE plaintiff respectfully requests this Court to:

   1. Award plaintiff such damages as are permitted by law, both compensatory and punitive,

       including $1,000 statutory damages for each communication;

   2. Award the plaintiff costs of suit and a reasonable attorney's fee;

   3. Award declaratory and injunctive relief, and such other and further relief as law or equity

       may provide.

                                                      THE PLAINTIFF

                                                      BY______/s/ Joanne S. Faulkner__
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